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                                                     BRADLEY C. LECHMAN-SU
                                                      ATTORNEY AT LAW - INTERNATIONAL FAMILY LAW



July 21, 2023


by email to: Christelle Samson, Vice-consul
SAMSON Christelle <christelle.samson@diplomatie.gouv.fr>

                                 Re: Arnaud Paris; Oregon Judgment No. 23DR08269

Dear Ms. Samson:

This letter follows my letter to you of yesterday, July 20, 2023. Please recall I represent Arnaud Paris,
and this now second letter further refers to the status of the Oregon judgment No. 23DR08269. The
question is what effect the filing of an objection has on the status of the filed judgment?

It has no effect on the judgment until the court hears the objection, and then, and only then, will the
court decide whether the objection has any merit. In the meantime, the judgment is an official,
registered judgment entitled to full recognition and enforcement.

Please let me know if you have any further questions.



Respectfully,

BciiJC IJmn SJ

Bradley Lechman-Su, Attorney at Law




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